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4-725421

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

MIAMI DIVISION
)
HELLMANN WORLDWIDE )
LOGISTICS, INC., )
)
Plaintiff, )
) CIVIL COMPLAINT
- against - )
)
NANOSOLAR, INC., )
)
Defendant. )
)

Plaintiff, HELLMANN WORLDWIDE LOGISTICS, INC., by its
attorneys WALTON LANTAFF SCHROEDER & CARSON, as and for its
Complaint against defendant, NANOSOLAR, INC., in personam, in a cause of
action civil and maritime, alleges upon information and belief:

1. This Court has jurisdiction under 28 U.S.C. 1332, the diversity
statute, the parties being citizens of different states, and the amount in
controversy exceeds $75,000.00 exclusive of interest and costs. Venue is proper
pursuant to plaintiff's Terms and Conditions of Service, as well as a Credit
Application and Power of Attorney between the parties, calling for all actions to
be brought in the Courts of the State of Florida at Miami.

2. At all times hereinafter mentioned, plaintiff, HELLMANN
WORLDWIDE LOGISTICS, INC. (“HELLMANN?”) was and still is a corporation
organized and existing under the laws of the State of Delaware, with offices and
a place of business at 10450 Doral Blvd., Miami, FL 33178.

3. Upon information and belief and at all times hereinafter
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mentioned, defendant NANOSOLAR, INC. was and still is a corporation
organized and existing under the laws of the State of California, with offices and
a place of business at 5521 Hellyer Avenue, San Jose, CA 95138.

4. On or about September 9, 2010, defendant executed a Limited
Power of Attorney for Export agreement with plaintiff (the “Agreement”) wherein,
inter alia, plaintiff would act as freight forwarder on behalf of defendant for
shipments by defendant to its customers.

5. Pursuant to this Agreement, plaintiff executed a number of
shipments on behalf of defendant, prepaid all shipping related charges on behalf
of defendant in order to facilitate defendant’s shipments, and issued invoices to
defendant for plaintiff's fees and services totaling $161,970.00. (A copy of all
outstanding invoices are annexed hereto as Exhibits A1-A62.)

6. All shipments were properly completed.

7. Plaintiff has duly performed all acts required to be performed by
plaintiff.

8. Defendant has failed and refused, and continues to fail and to
refuse, to remit the payment due of $161,970.00, although duly demanded.

9. By reason of the foregoing, plaintiff has sustained damages in
the amount of $161,970.00 which, although duly demanded, have not been paid.

WHEREFORE, plaintiff prays:

1. For judgment in the amount of plaintiff's damages, together with
interest thereon from the respective dates due, costs, disbursements, and
reasonable attorney’s fees.

2. That process in due form of law according to the practice of this
Court in cases diversity jurisdiction may issue against the defendant citing it to

appear and answer all the singular matters aforesaid.
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3. That plaintiff has such other and further relief in the premises as in law and justice
it may be entitled to receive.

DATED: Miami, Florida
July 8, 2013

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